364 F.2d 822
    Claude George ATKINS, Appellant,v.Judge L. L. MORGAN, District Court Judge, Stevens County, Kansas, Paul A. Wolf, County Attorney, Stevens County, Kansas, L. R. Rose et al., Chief of Police, Ex-County Sheriff, Hugoton, Kansas, Appellees.
    No. 8742.
    United States Court of Appeals Tenth Circuit.
    July 28, 1966.
    Certiorari Denied October 10, 1936.
    
      See 87 S.Ct. 164.
      No appearance for appellant.
      Daniel D. Metz, Asst. Atty. Gen. (Robert C. Londerholm, Atty. Gen., on the brief), for appellees.
      Before HILL, SETH and HICKEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellees point out that the order appealed from dismissed the petition but did not dismiss the action, therefore, there is no appealable order. Under authority of Garrison v. Lacy, 10 Cir., 362 F.2d 798, May Term, 1966, and Midwestern Developments, Inc. v. City of Tulsa, 10 Cir., 319 F.2d 53, cert denied, 379 U.S. 989, 85 S.Ct. 702, 13 L.Ed.2d 610, we agree that the order appealed from is not a final appealable order and that the appeal must be dismissed.
    
    
      2
      However, in the interest of efficient judicial administration, we believe it is appropriate to add that we have carefully considered the pleadings and the order entered dismissing the petition and agree with the trial court in that federal jurisdiction is not present in the case.
    
    
      3
      The appeal is dismissed and the case is remanded for the entering of a final judgment and such other action as the trial court shall deem appropriate.
    
    